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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                           __________ District of Massachusetts__________

                    United States of America                      )
                               v.                                 )
                                                                  )   Case No: 96-10047-011
                      FRANCIS COLEMAN
                                                                  )   USM No: 21253-038
Date of Previous Judgment: 07/01/1998                             )   Joan Griffin, Esq.
(Use Date of Last Amended Judgment if Applicable)                 )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       X DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of            months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                  Amended Offense Level:
Criminal History Category:               Criminal History Category:
Previous Guideline Range:  to    months  Amended Guideline Range:                                                     to   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                           shall remain in effect.
IT IS SO ORDERED.

Order Date:         12/31/2009                                        /s/ Mark L. Wolf
                                                                                               Judge’s signature


Effective Date:                                                                  Mark L. Wolf, Chief District Judge
                     (if different from order date)                                          Printed name and title
